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                           UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


  AARON EUGENE NEWSOME,

          Plaintiff,                               CASE NO.: 6:18-cv-02178-RBD-GJK
  vs.



  CENTURION OF FLORIDA,LLC,
  a Florida limited liability company,
  JASON BRENES-CATINCHI, M.D.,
  BOBBIE L. CANNON,and
  VERONICA L BAKER,

          Defendants.



                       SECOND AMENDED VERIFIED COMPLAINT
                            AND DEMAND FOR.lURY TRIAL


          PLAINTIFF AARON EUGENE NEWSOME, (hereinafter "Plaintiff," or

  "NEWSOME"),by and through undersigned counsel, files this Second Amended Verified

   Complaint and Demand for Jury Trial against DEFENDANT,CENTURION OF FLORIDA,

  LLC.,a Florida limited liability company,(hereinafter"CENTURION"),and alleges:

                                     INTRODUCTION


          1.      This is an action for compensatory and punitive damages alleging that the

   Defendants, contrary to the Eighth and Fourteenth Amendments to the United States

   Constitution, knowingly and willfully exercised deliberate indifference to the recognized

   rights ofthe PlaintiffAARON EUGENE NEWSOME while he was incarcerated at Central

   Florida Reception Center.
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